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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

     UNITED STATES OF AMERICA,                           CASE NO. 1:20-MJ-00527

                                Plaintiff,               JUDGE BOWMAN

         v.
                                                         UNITED STATES’
                                                         MOTION TO SEAL CASE
     1(,/&/$5.,
                                Defendant.



       The United States Attorney respectfully requests that the Complaint, Affidavit, Arrest Warrant,

and all related documents filed herewith and in the future, be kept and filed under seal and that no

person shall disclose their existence until further order of the Court.

       As grounds for the instant motion, the United States Attorney states that disclosure of said

documents could hamper the on-going investigation.

                                                       Respectfully submitted,

                                                       DAVID M. DEVILLERS
                                                       United States Attorney


                                                       s/Emily N. Glatfelter
                                                       EMILY N. GLATFELTER
                                                       MATTHEW C. SINGER
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       IT IS HEREBY ORDERED that the Complaint, Affidavit, Arrest Warrant, and all related

documents filed herewith and in the future, be filed under seal and shall not be disclosed.


        Jul 17, 2020
DATE                                                   HONORABLE STEPHANIE K. BOWMAN
                                                       UNITED STATES MAGISTRATE JUDGE
